             Case 2:13-cv-20000-RDP Document 2594 Filed 07/29/20 Page 1 of 1                                             FILED
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                                                                                                                U.S. DISTRICT COURT
                                                                                                                    N.D. OF ALABAMA


                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

IN RE: BLUE CROSS BLUE SHIELD                         }        Master File No.: 2:13-CV-20000-RDP
                                                      }
ANTITRUST LITIGATION                                  }
  (MDL NO.: 2406)                                     }

                                                     ORDER

         During the July 28, 2020 status conference, the issue of lifting the stay as to the

Providers’ claims was discussed. Counsel for the Providers’ and for Defendants agree that they

should meet and confer about (1) lifting the stay and (2) developing a schedule for proceedings

after the stay is lifted. They further agree that counsel for Subscribers should participate in that

process, even though it is not presently anticipated that the stay will be lifted as to the

Subscribers’ claims.

         Therefore, it is ORDERED as follows:

         1.       The parties SHALL meet and confer about (1) lifting the stay and (2) developing

a schedule for proceedings once the stay is lifted.

         2.       On or before August 31, 2020,1 the parties SHALL file a joint report regarding

lifting the stay and how matters on the Providers’ claims should proceed thereafter.

         DONE and ORDERED this July 29, 2020.



                                                      _________________________________
                                                      R. DAVID PROCTOR
                                                      UNITED STATES DISTRICT JUDGE


         1
          The court anticipates that it will conduct another status conference during the latter part of August.
Although the Joint Report will not be required before that conference, the parties should be prepared to discuss their
progress on these issues at that time.
